Case 18-08043-JMM         Doc 83    Filed 03/23/20 Entered 03/23/20 15:03:18       Desc Main
                                   Document      Page 1 of 7



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   Counsel for Reorganized Debtor/Plaintiff

                          UNITED STATES BANKRUPTCY COURT

                                    DISTRICT OF IDAHO

   In Re:                                        Case No. 11-40128 JMM

   KINGSTON, DAVID ORVILLE,                      Chapter 11

        Debtor.
   DAVID ORVILLE KINGSTON,                       Adversary Case Nos.:
                                                 18-08043 JDP
            Plaintiff,                           18-08044 JDP
                                                 18-08045 JDP
            vs.                                  19-08001 JDP
                                                 19-08002 JDP
   BANK OF AMERICA, N.A., et al.                 19-08003 JDP
                                                 19-08004 JDP
                                                 19-08005 JDP
                                                 19-08006 JDP
                                                 19-08007 JDP

            Defendants.

                  NOTICE OF EXTENSION OF DEADLINE TO RESPOND
                        TO SECOND AMENDED COMPLAINTS

            COMES NOW the Reorganized Debtor, David O. Kingston (the “Plaintiff”), by

   and through his attorneys of record, Maynes Taggart PLLC, and hereby notifies the

   Court, pursuant to FRBP 9006(b), of his agreement to extend the deadline for responding
Case 18-08043-JMM          Doc 83     Filed 03/23/20 Entered 03/23/20 15:03:18                   Desc Main
                                     Document      Page 2 of 7



   to the Second Amended Complaint in the above captioned adversary cases, as set forth in

   more detail below.

           On February 19, 2020 the Court held a consolidated hearing on various motions to

   dismiss the amended complaints filed in each of the ten (10) respective adversary cases

   listed above, which motions were filed by multiple defendants.                 As a result of the

   proceedings, Counts Two, Three and Four of the amended complaints in each adversary

   case were dismissed with prejudice.1 Additionally, the Court granted Plaintiff leave to

   file a Second Amended Complaint as to Count One, no later than March 13, 2020.

           On March 12, 2020 the Plaintiff filed a Second Amended Complaint (“SAC”) in

   each of the ten (10) respective adversary cases as set out below:

           Case No.                          Docket No. of SAC

           18-08043                                   Dkt. 79

           18-08044                                   Dkt. 42

           18-08045                                   Dkt. 74

           19-08001                                   Dkt. 78

           19-08002                                   Dkt. 68

           19-08003                                   Dkt. 86

           19-08004                                   Dkt. 74

           19-08005                                   Dkt. 57

           19-08006                                   Dkt. 68

           19-08007                                   Dkt. 55



   1
    See Dkt. 76, Case No. 18-08043; Dkt. 39, Case No. 18-08044; Dkt. 71, Case No. 18-08045; Dkt. 74, Case
   No. 19-08001; Dkt. 64, Case No. 19-08002; Dkt. 44, Case No. 19-08003; Dkt. 70, Case No. 19-08004; Dkt.
   54, Case No. 19-08005; Dkt. 65, Case No. 19-08006; Dkt. 51, Case No. 19-08007.

   NOTICE OF EXTENSION OF DEADLINE TO RESPOND TO SECOND AMENDED COMPLAINTS
   Page 2
Case 18-08043-JMM        Doc 83    Filed 03/23/20 Entered 03/23/20 15:03:18            Desc Main
                                  Document      Page 3 of 7



          Pursuant to FRCP 15, defendants would have had fourteen (14) days to file an

   answer/response to the SAC in the adversary cases. Bank of America, N.A. (“BANA”),

   which is a defendant in all ten (10) adversary cases, requested an extension to file its

   answers/responses to the SACs. Plaintiff and BANA agreed to an answer/response

   deadline of May 8, 2020.

          Plaintiff offered the same extended deadline to all of the other defendants in the

   respective adversary cases. All of the defendants accepted, and requested that they be

   afforded the same extended deadline.

          Therefore, Plaintiff is extending the answer/response deadline for the Second

   Amended Complaint in each of the respective adversary cases listed above to May 8,

   2010, as to all defendants.

          No agreements have been made between the parties as to any other deadlines

   (objections, replies to responses or motions, etc.) at this time, and all parties shall

   maintain their rights to seek separate or additional extensions, as appropriate and dictated

   by circumstances.



                                  DATED:         March 23, 2020

                                                 MAYNES TAGGART PLLC

                                                 /s/ Stephen K. Madsen________________
                                                 STEPHEN K. MADSEN




   NOTICE OF EXTENSION OF DEADLINE TO RESPOND TO SECOND AMENDED COMPLAINTS
   Page 3
Case 18-08043-JMM       Doc 83     Filed 03/23/20 Entered 03/23/20 15:03:18          Desc Main
                                  Document      Page 4 of 7




                               CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on March 23, 2020, I filed a copy of the attached
   pleading with the Court via CM/ECF and the following parties are reflected as receiving
   the Notice of Electronic Filing as CM/ECF Registered Participants:

   Aaron R Goldstein on behalf of Defendant U.S. Bank Trust, National Association;
   Creditor US Bank, N.A.; Defendant LSF9 Master Participation Trust; Creditor LSF9
   Master Participation Trust; Defendant Caliber Home Loans, Inc
   AGoldstein@perkinscoie.com, csanford@perkinscoie.com,
   DocketLA@PerkinsCoie.com

   Amy J. Kingston on behalf of Creditor 43 North, LLC; Kingston Companies
   kingstonlegalpllc@gmail.com

   Brian F McColl on behalf of Creditor Wells Fargo Bank, N.A. brian@wilsonmccoll.com,
   ronni@wilsonmccoll.com

   Bryan Nikkilas Henrie on behalf of Attorney Craig W. Christensen, Chartered
   bryan@mrtlaw.net

   Daniel C Green on behalf of Attorney Craig W. Christensen, Chartered
   dan@racinelaw.net, mcl@racinelaw.net

   David E Leta on behalf of Plaintiff Bank of America, N.A. dleta@swlaw.com,
   wsmart@swlaw.com;lgardner@swlaw.com;dfarr@swlaw.com

   David M Swartley on behalf of Creditor Federal National Mortgage Association (Fannie
   Mae)
   bknotice@mccarthyholthus.com, dSwartley@ecf.inforuptcy.com;
   dswartley@mccarthyholthus.com; dswartley@ecf.courtdrive.com

   David Wayne Newman on behalf of U.S. Trustee US Trustee
   ustp.region18.bs.ecf@usdoj.gov

   Elijah Martin Watkins on behalf of Creditor Select Portfolio Servicing, Inc.; Defendant
   Select Portfolio Servicing, Inc.
   elijah.watkins@stoel.com, docketclerk@stoel.com; karissa.armbrust@stoel.com;
   Kathleen.reynolds@stoel.com; tracy.horan@stoel.com; emina.hasanovic@stoel.com;
   katherine.cascarano@stoel.com


   Elizabeth M. Z. Timmermans on behalf of Defendant BofA Merrill Lynch Asset
   Holdings, Inc.; Bank of America Corporation; Defendant Federal National Mortgage
   Association

   NOTICE OF EXTENSION OF DEADLINE TO RESPOND TO SECOND AMENDED COMPLAINTS
   Page 4
Case 18-08043-JMM       Doc 83     Filed 03/23/20 Entered 03/23/20 15:03:18          Desc Main
                                  Document      Page 5 of 7



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   ARobinson@mcguirewoods.com

   Eugene A Ritti on behalf of Defendant David Orville Kingston,
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   Heidi Buck Morrison on behalf of Defendant Servis One, Inc., a Delaware Corporation;
   Interested Party Servis One, Inc.; Defendant Bungalow Series F Trust; Defendant Servis
   One, Inc.; Creditor US Bank, N.A.; Defendant U.S. Bank Trust, National Association, a
   subsidiary of U.S. Bancorp; Defendant BSI Financial Services; Defendant Servis One,
   Inc., a Delaware corporation; Defendant U.S. Bank Trust, National Association;
   Defendant BSI Financial Services, Inc.
   heidi@racineolson.com, mandy@racineolson.com,cheryl@racineolson.com

   James Blake Bailey on behalf of Defendant Wilmington Savings Fund Society, FSB,
   d/b/a Christiana Trust, not individually but as trustee for Hilldale Trust; Defendant MCM
   Capital Partners, LLC; Defendant PROF-2013-S3 Legal Title Trust; Defendant
   Christiana Trust Company of Delaware, a Delaware corporation; Defendant Fay
   Servicing, LLC, a Delaware limited liability company; Defendant Ventures Trust 2013 I-
   H-R; Defendant Fay Servicing, LLC; Defendant Wilmington Savings Fund Society, FSB
   jbailey@bradley.com

   Jesse A.P. Baker on behalf of Creditor Wilmington Savings Fund Society, FSB, d/b/a
   Christiana Trust, not Individually but as Trustee for Ventures Trust 2013-I-H-R, A
   Delaware Trust; Creditor Aurora Loan Services LLC; Creditor CITIBANK, N.A., as
   Trustee for CMLTI Asset Trust; Creditor PROF-2013-S3 Legal Title Trust, by U.S. Bank
   National Association, as Legal Title Trustee
   ecfidb@aldridgepite.com, JPB@ecf.courtdrive.com

   John F Kurtz, Jr on behalf of Defendant BofA Merrill Lynch Asset Holdings, Inc.;
   Creditor Bank of America, N.A.; Defendant Bank of America Corporation; Defendant
   Federal National Mortgage Association
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   Karl R Decker on behalf of Interested Party James Bauchman kdecker@holdenlegal.com,
   mreed@holdenlegal.com

   Lance E Olsen on behalf of Creditor Bank of America, N.A.; Creditor BAC Home Loans
   Servicing, LP; Creditor Nationstar Mortgage LLC d/b/a Mr. Cooper; Creditor Bank of
   America; Creditor US Bank, N.A.; Creditor Wells Fargo Bank, N.A.
   bknotice@mccarthyholthus.com, lolsen@ecf.inforuptcy.com; lolsen@ecf.courtdrive.com


   Larry E Prince on behalf of Counter-Defendant Corus Construction Venture, LLC;
   Plaintiff Spanish Palms Marketing, LLC; Creditor Spanish Palms Marketing, LLC;
   Counter-Defendant Spanish Palms Marketing, LLC


   NOTICE OF EXTENSION OF DEADLINE TO RESPOND TO SECOND AMENDED COMPLAINTS
   Page 5
Case 18-08043-JMM       Doc 83     Filed 03/23/20 Entered 03/23/20 15:03:18           Desc Main
                                  Document      Page 6 of 7



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   boiseintaketeam@hollandhart.com

   Lesley Bohleber on behalf of Creditor Seterus, Inc.; Creditor Rushmore Loan
   Management Services, LLC; Defendant Rushmore Loan Management Services, LLC;
   Defendant Seterus, Inc.; Defendant Wilmington Savings Fund Society FSB, d/b/a
   Christiana Trust, not individually but as trustee for Pretium Mortgage Acquisition Trust;
   Defendant Nationstar Mortgage LLC, successor by merger to Seterus, Inc.; Creditor
   Nationstar Mortgage LLC, successor by merger to Seterus, Inc.; Creditor Wilmington
   Savings Fund Society, FSB, d/b/a Christiana Trust, not individually but as trustee for
   Pretium Mortgage Acquisition Trust; Defendant Seterus, Inc., a Delaware corporation
   ecfidb@aldridgepite.com, llueke@ecf.courtdrive.com

   Mark A Larsen on behalf of Plaintiff RS-ANB Fund, LP; Creditor RS-ANB Fund, LP
   mlarsen@larsenrico.com, jlshields@cnmlaw.com; njpotter@cnmlaw.com

   Matthew K Shriver on behalf of Creditor LSF9 Master Participation Trust
   ecfid@rcolegal.com;RCO@ecf.inforuptcy.com, shriver.matt@gmail.com

   Monte C Gray on behalf of Creditor Bank of America montegray@cableone.net,
   livg@cableone.net;dianegraylaw@cableone.net

   Patrick William McNulty on behalf of Creditor Spanish Palms Marketing, LLC; Plaintiff
   Spanish Palms Marketing, LLC; Creditor Corus Construction Venture, LLC
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   Philip M Kleinsmith on behalf of Creditor Ventures Trust 2013-I-H-R by Capital Partners
   LLC, its Trustee
   aj@kleinsmithlaw.com

   Randall A Peterman on behalf of Defendant Fay Servicing, LLC, a Delaware limited
   liability company; Defendant MCM Capital Partners, LLC; Defendant Christiana Trust
   Company of Delaware, a Delaware corporation; Defendant PROF-2013-S3 Legal Title
   Trust; Defendant Wilmington Savings Fund Society, FSB; Defendant Hilldale Trust, a
   Delaware trust; Creditor Fay Servicing, LLC; Creditor Wilmington Savings Fund
   Society, FSB, d/b/a Christiana Trust, not individually but as trustee for Hilldale Trust;
   Creditor PROF-2013-S3 Legal Title Trust, by U.S. Bank National Association, as Legal
   Title Trustee; Creditor Ventures Trust 2013-I-H-R by Capital Partners LLC, its Trustee;
   Defendant Ventures Trust 2013 I-H-R; Creditor Wilmington Savings Fund Society, FSB,
   d/b/a Christiana Trust, not Individually but as Trustee for Ventures Trust 2013-I-H-R, A
   Delaware Trust; Defendant Wilmington Savings Fund Society, FSB, d/b/a Christiana
   Trust, not individually but as trustee for Hilldale Trust; Defendant Fay Servicing, LLC
   rap@givenspursley.com, kad@givenspursley.com;wandawhite@givenspursley.com

   Richard C Boardman on behalf of Creditor LSF9 Master Participation Trust; Defendant
   Caliber Home Loans, Inc.; Defendant U.S. Bank Trust, National Association; Creditor


   NOTICE OF EXTENSION OF DEADLINE TO RESPOND TO SECOND AMENDED COMPLAINTS
   Page 6
Case 18-08043-JMM       Doc 83     Filed 03/23/20 Entered 03/23/20 15:03:18       Desc Main
                                  Document      Page 7 of 7



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   Robert A Muckenfuss on behalf of Defendant Federal National Mortgage Association;
   Defendant Bank of America Corporation; Defendant BofA Merrill Lynch Asset
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   Sheila Rae Schwager on behalf of Defendant Bank of America Corporation; Creditor
   Bank of America, dsorg@hawleytroxell.com

   Stephen A Meikle on behalf of Creditor Danielle Kingston; Creditor David O Kingston,
   Jr. sammeikle@msn.com, rachellewinn@outlook.com

   US Trustee ustp.region18.bs.ecf@usdoj.gov

   William L Mauk on behalf of Creditor Kingston, David O. Jr. & Danielle
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   And as further indicated in the ECF mailing matrix.



                                                /s/ Stephen K. Madsen___
                                                Stephen K. Madsen




   NOTICE OF EXTENSION OF DEADLINE TO RESPOND TO SECOND AMENDED COMPLAINTS
   Page 7
